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                                  Nebraska Supreme Court A dvance Sheets
                                          295 Nebraska R eports
                             IN RE GUARDIANSHIP &amp; CONSERVATORSHIP OF KAISER
                                            Cite as 295 Neb. 532



                               In    Guardianship and Conservatorship of
                                    re
                                  Loyola Jane K aiser, an incapacitated
                                          and protected person.
                                 Heartland Trust Company, Conservator,
                                    appellant, v. Paula K aiser-Asmus
                                      and Carol H arris, appellees.
                                                    ___ N.W.2d ___

                                         Filed January 13, 2017.   No. S-16-219.

                1.	 Guardians and Conservators: Appeal and Error. An appellate court
                    reviews guardianship and conservatorship proceedings for error appear-
                    ing on the record in the county court.
                2.	 Judgments: Appeal and Error. When reviewing a judgment for errors
                    appearing on the record, an appellate court’s inquiry is whether the deci-
                    sion conforms to the law, is supported by competent evidence, and is
                    neither arbitrary, capricious, nor unreasonable.
                3.	 Statutes: Appeal and Error. Statutory interpretation presents a ques-
                    tion of law, for which an appellate court has an obligation to reach
                    an independent conclusion irrespective of the decision made by the
                    court below.
                4.	 Statutes: Legislature: Presumptions. In enacting an amendatory stat-
                    ute, the Legislature is presumed to have known the preexisting law.
                5.	 Statutes: Appeal and Error. Statutory language is to be given its plain
                    and ordinary meaning, and an appellate court will not resort to inter-
                    pretation to ascertain the meaning of statutory words which are plain,
                    direct, and unambiguous.
                6.	 Statutes. It is not within the province of the courts to read a meaning
                    into a statute that is not there or to read anything direct and plain out of
                    a statute.

                  Appeal from the County Court for Fillmore County: Michael
               P. Burns, Judge. Affirmed.
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           Nebraska Supreme Court A dvance Sheets
                   295 Nebraska R eports
        IN RE GUARDIANSHIP &amp; CONSERVATORSHIP OF KAISER
                       Cite as 295 Neb. 532
  Joseph H. Murray, P.C., L.L.O., of Germer, Murray &amp;
Johnson, for appellant.
  Joseph N. Bixby and Paul N. Bixby, Senior Certified Law
Student, of Bixby Law Office, for appellees.
   Heavican, C.J., Wright, Miller-Lerman, Cassel, Stacy,
K elch, and Funke, JJ.
  Miller-Lerman, J.
                     NATURE OF CASE
   The appellant, Heartland Trust Company (Heartland), was
appointed as the conservator for Loyola Jane Kaiser. After
the death of Loyola’s husband, Albert A. Kaiser, Heartland
filed an application in the county court for Fillmore County
seeking authority to file the elective share it stated was due
to Loyola as Albert’s surviving spouse. After a hearing, the
county court denied Heartland’s application. Heartland appeals.
We affirm.
                   STATEMENT OF FACTS
   Albert and Loyola were married and had one child together,
Paula Kaiser-Asmus (Paula). Loyola had two children from a
previous marriage, James Votipka (James) and Carol Harris
(Carol). The record does not specifically indicate when
Albert and Loyola were married, but the county court noted
in its order that “Paula was born in 1959, suggesting that
the marriage between Albert and Loyola . . . spanned over
many decades.”
   Albert and Loyola both executed wills on December 16,
2005, and these wills appear to mirror each other. The wills
provided a life estate to the surviving spouse for certain prop-
erty and devised all the residue of their property interests to
the surviving spouse. They both also devised remainder inter-
ests in certain property to James, Carol, and Paula.
   Loyola did not modify her 2005 will, but Albert executed a
new will and a living trust on March 19, 2014. Albert’s 2014
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           Nebraska Supreme Court A dvance Sheets
                   295 Nebraska R eports
        IN RE GUARDIANSHIP &amp; CONSERVATORSHIP OF KAISER
                       Cite as 295 Neb. 532
will named Loyola as his spouse, Paula as his child, and Carol
as his spouse’s child, and it stated that “[a]ll references to ‘my
children’ in this Will are to these children.” Albert’s 2014 will
further stated: “My spouse has a son, JAMES . . . ; that I have
intentionally and with full knowledge chosen not to provide
for him or his descendants.” Albert’s 2014 will distributed all
of his property into his living trust.
    Similar to his 2014 will, Albert’s living trust identified
Loyola as his spouse, Paula as his child, and Carol as his
spouse’s child, and it stated that “[a]ll references to ‘my chil-
dren’ in this Agreement are to these children.” The living trust
specifically excluded James, stating that Albert had “intention-
ally and with full knowledge chosen not to provide for [James]
or his descendants.” “Article Nine” of Albert’s living trust is
titled “Distribution of My Trust Property,” and it specifically
designated Paula and Carol as the only two beneficiaries of the
trust, with each receiving a 50-percent share of the trust upon
Albert’s death. Neither Loyola nor James were included as a
beneficiary of Albert’s trust.
    On July 23, 2014, while Albert was still alive, the county
court filed an order and letters in which it appointed Heartland
as the conservator for Loyola.
    Albert died in January 2015. On April 24, Heartland, as
Loyola’s conservator, filed an application in which it sought an
order authorizing it to elect the statutory share due to Loyola
as Albert’s surviving spouse. Heartland alleged that pursuant
to Neb. Rev. Stat. § 30-2313 (Reissue 2016), Loyola, as the
surviving spouse, had a right of election to take an elective
share in any fraction not in excess of one-half of Albert’s
augmented estate. In its application, Heartland additionally
requested authorization to claim homestead, exempt property,
and family allowances on behalf of Loyola.
    A hearing was held at which Heartland offered and the
county court received 12 exhibits. The president of Heartland,
Lucas Swartzendruber, testified on behalf of Heartland.
Swartzendruber testified that Loyola was approximately 88
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           Nebraska Supreme Court A dvance Sheets
                   295 Nebraska R eports
        IN RE GUARDIANSHIP &amp; CONSERVATORSHIP OF KAISER
                       Cite as 295 Neb. 532
years old at the time of the hearing. He stated that generally
the life expectancy of an 88-year-old person is approximately
6 years, “but that could vary based on health.” Swartzendruber
noted that Loyola was in hospice care and that he had not been
given any indication from Loyola’s doctor as to how long the
doctor expected Loyola to live.
   Swartzendruber testified that he attempted to locate all of
Loyola’s assets, which are reflected in exhibit 8. The value
of the assets listed in exhibit 8 is in excess of $1 million,
and exhibit 8 states that Loyola’s only liabilities are her cur-
rent expenses. Swartzendruber also testified that he prepared
an estimate of Loyola’s anticipated income and expenses on
an annual basis, which is reflected in exhibit 13. Loyola’s
estimated annual income totaled $90,597.77, which included
Social Security payments, long-term care insurance, and rent
from certain properties. Loyola’s estimated annual expenses
totaled $82,509.63. This estimate did not include conserva-
tor or attorney fees, which Swartzendruber noted would vary
depending on pending legal actions.
   Swartzendruber also stated at the hearing that Loyola had
been named as a beneficiary of Albert’s single premium annu-
ity in the principal sum of $200,000, but that at some point, the
beneficiary was changed and Loyola was no longer listed as a
beneficiary. Swartzendruber further testified that Loyola had
been listed as a beneficiary of Albert’s life insurance policy in
the amount of $25,000, but that she was no longer listed as a
beneficiary at the time of Albert’s death.
   After the hearing but before the county court ruled on
Heartland’s application, Heartland, as Loyola’s conservator,
filed a petition for the elective share in Albert’s separate pro-
bate matter, case No. PR-15-42. In the petition, Heartland
recognized that the county court had not yet ruled on its
application for authorization to file a petition for the elective
share. However, Heartland stated that a petitioner is required
to file a petition for elective share within 9 months of the
decedent’s death and Heartland was concerned that the right
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           Nebraska Supreme Court A dvance Sheets
                   295 Nebraska R eports
        IN RE GUARDIANSHIP &amp; CONSERVATORSHIP OF KAISER
                       Cite as 295 Neb. 532
to petition for elective share would be waived if it failed to
file in a timely manner. In the separate probate matter, Paula
subsequently filed a motion to dismiss Heartland’s petition for
elective share, because Heartland did not have authorization to
file the petition.
   On February 10, 2016, the county court filed its order in
which it denied Heartland’s application. In its decision, the
county court considered Neb. Rev. Stat. § 30-2315 (Reissue
2016), which provides:
         The right of election of the surviving spouse may be
      exercised only during his or her lifetime by him or her. In
      the case of a protected person, the right of election may
      be exercised only by order of the court in which protec-
      tive proceedings as to his or her property are pending,
      after finding that exercise thereof in the fraction desig-
      nated or proposed is in the best interests of the protected
      person during his or her probable life expectancy and of
      the children, family members, or other successors to the
      decedent or to the protected person, due regard being
      given by the court to the other assets and resources of
      the protected person, the extent and nature of any depen-
      dent, mutual, or otherwise related estate planning of the
      decedent and the protected person, the present and likely
      future financial impact upon the estate of the decedent,
      the protected person or the estate of the protected per-
      son, or such successors of any federal or state estate,
      excise, gift, income, inheritance, succession, or other
      tax consequent upon such exercise, and the existence or
      nonexistence of any other factors deemed by the court
      to be relevant to the exercise or nonexercise of the right
      of election.
   The county court stated in its order:
         In consideration of the factors set forth in . . .
      § 30-2315, it seems contrary to the estate planning done
      by the decedent (Albert) in 2014, as well as unneces-
      sary when considering the current, plentiful financial
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                   295 Nebraska R eports
        IN RE GUARDIANSHIP &amp; CONSERVATORSHIP OF KAISER
                       Cite as 295 Neb. 532
      circumstances of the protected person (Loyola . . . ),
      to approve the request of the conservator for authoriza-
      tion to file an elective share, of any percentage, within
      [Albert’s] estate . . . .
   The county court stated that when Albert modified his estate
in 2014 and excluded Loyola and James as benefici­aries of his
living trust, he presumably took into consideration Loyola’s
assets, including income-generating resources that were acces-
sible to Loyola. The county court noted that if Loyola’s “cur-
rent financial circumstances were not as stable and plentiful,
then this Court would have little, if any, regard for the inferred
primary intent of Albert’s 2014 estate planning.” However, the
county court recognized that § 30-2315 provides that the court
must give due regard “to the other assets and resources of
the protected person, the extent and nature of any dependent,
mutual, or otherwise related estate planning of the decedent
and the protected person.” The county court went on to state
that “it is the application of this statutory provision which leads
this Court to deny the request of the conservator to file for an
elective share of [Albert’s] estate.”
   In its February 10, 2016, order, the county court also granted
Heartland’s request for authority to claim homestead allow-
ance, exempt property, and family allowance on behalf of
Loyola. These determinations are not challenged on appeal.
   Heartland appeals from the portion of the county court’s
order which denied the request to file an elective share.
                ASSIGNMENTS OF ERROR
  Heartland claims that the county court erred because its
decision denying the application of the conservator to file for
an elective share “does not conform to the law, is not sup-
ported by competent evidence, and is arbitrary, capricious
and unreasonable.”
                STANDARDS OF REVIEW
  [1,2] An appellate court reviews guardianship and conser-
vatorship proceedings for error appearing on the record in
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           Nebraska Supreme Court A dvance Sheets
                   295 Nebraska R eports
        IN RE GUARDIANSHIP &amp; CONSERVATORSHIP OF KAISER
                       Cite as 295 Neb. 532
the county court. In re Conservatorship of Franke, 292 Neb.
912, 875 N.W.2d 408 (2016). When reviewing a judgment for
errors appearing on the record, an appellate court’s inquiry
is whether the decision conforms to the law, is supported by
competent evidence, and is neither arbitrary, capricious, nor
unreasonable. Id.   [3] Statutory interpretation presents a question of law, for
which an appellate court has an obligation to reach an inde-
pendent conclusion irrespective of the decision made by the
court below. Hargesheimer v. Gale, 294 Neb. 123, 881 N.W.2d
589 (2016).

                            ANALYSIS
   Heartland claims that the county court erred when it denied
its application for authority to file, on Loyola’s behalf, for the
elective share of Albert’s augmented estate. Heartland argues
that the county court’s determination does not conform to the
applicable law and is not supported by competent evidence. We
disagree and affirm the order of the county court.
   Section 30-2313 of the Nebraska Probate Code provides that
after a married person dies, the person’s surviving spouse has
the right of election. Section 30-2313(a) states that “if a mar-
ried person domiciled in this state dies, the surviving spouse
has a right of election to take an elective share in any fraction
not in excess of one-half of the augmented estate.” The right
of election allows a person who survives his or her spouse to
elect to take a share of the deceased spouse’s augmented estate,
instead of taking what the surviving spouse would receive
under the deceased spouse’s will.
   The Nebraska Probate Code limits the right of election for
a surviving spouse who is a protected person. See § 30-2315.
For purposes of the Nebraska Probate Code, a protected person
is “a minor or other person for whom a conservator has been
appointed or other protective order has been made.” Neb. Rev.
Stat. § 30-2601(3) (Reissue 2016). Loyola is a protected person
for the purposes of our analysis.
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                   295 Nebraska R eports
        IN RE GUARDIANSHIP &amp; CONSERVATORSHIP OF KAISER
                       Cite as 295 Neb. 532
   The right to elect by a surviving spouse who is a pro-
tected person must be exercised in conformity with § 30-2315,
which is the controlling statute applicable to this case. Section
30-2315 provides:
      In the case of a protected person, the right of election
      may be exercised only by order of the court in which
      protective proceedings as to his or her property are pend-
      ing, after finding that exercise thereof in the fraction
      designated or proposed is in the best interests of the pro-
      tected person during his or her probable life expectancy
      and of the children, family members, or other successors
      to the decedent or to the protected person, due regard
      being given by the court to the other assets and resources
      of the protected person, the extent and nature of any
      dependent, mutual, or otherwise related estate planning
      of the decedent and the protected person, the present and
      likely future financial impact upon the estate of the dece-
      dent, the protected person or the estate of the protected
      person, or such successors of any federal or state estate,
      excise, gift, income, inheritance, succession, or other
      tax consequent upon such exercise, and the existence or
      nonexistence of any other factors deemed by the court
      to be relevant to the exercise or nonexercise of the right
      of election.
   Heartland claims that the county court erred in its applica-
tion of § 30-2315 when it denied Heartland authorization to
file for the elective share on Loyola’s behalf. Heartland argues
that the county court did not properly consider the factors set
forth in § 30-2315, and it asserts that it would be in Loyola’s
best interests if she were allowed to file for the elective share.
Heartland specifically contends that “[t]he unmistakable con-
clusion is that the best interests of [Loyola] can only be served
by permitting her to make the full statutory election of fifty
percent . . . of [Albert’s] augmented estate.” Brief for appel-
lant at 11. Heartland relies on Clarkson v. First Nat. Bank of
Omaha, 193 Neb. 201, 226 N.W.2d 334 (1975), to support
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           Nebraska Supreme Court A dvance Sheets
                   295 Nebraska R eports
        IN RE GUARDIANSHIP &amp; CONSERVATORSHIP OF KAISER
                       Cite as 295 Neb. 532
its contention that allowing Loyola to file for the elective
share would be in her best interests, because filing for the
elective share would provide her with the greatest monetary
value. However, as explained below, Heartland’s reliance on
Clarkson, supra, is misplaced primarily because the statute
on which that case was decided has been significantly revised
and replaced by § 30-2315; the language of the controlling
statute dictates different principles and, in this case, a differ-
ent outcome.
   The question before this court in Clarkson, supra, was
whether it was in the best interests of an incompetent surviv-
ing spouse to take under her deceased husband’s will or for the
court to authorize her to take the elective share. The case was
controlled by Neb. Rev. Stat. § 30-108(2) (Reissue 1964), the
centerpiece of which provided that
      [t]he court . . . [after conducting a] hearing shall make
      such election [either to take as provided by the will or to
      take by inheritance and descent and distribute as provided
      by law] as it deems the best interests of such surviving
      husband or wife shall require, which election shall be
      entered upon the records of said court.
   In Clarkson, the county court determined that the surviving
spouse’s best interests would not be served by filing for the
elective share and that therefore, the surviving spouse should
take under the will. On appeal, the district court disagreed and
found that allowing the surviving spouse to file for the elec-
tive share would be of greater value to the surviving spouse.
In a 4-to-3 decision, this court affirmed.
   On appeal from the district court, this court in Clarkson
was faced with the question of what factors were to be con-
sidered in determining the “best interests” of the incompetent
spouse under § 30-108(2). In deciding what factors were to
be considered under § 30-108(2), this court noted that there
was a split among the jurisdictions regarding the approach to
determine whether to authorize filing for the elective share.
Essentially, the courts were split on the meaning of “best
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           Nebraska Supreme Court A dvance Sheets
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        IN RE GUARDIANSHIP &amp; CONSERVATORSHIP OF KAISER
                       Cite as 295 Neb. 532
interests.” We noted that the minority of jurisdictions believed
that the best interests of the surviving incompetent or protected
spouse will be served by electing the method—either tak-
ing under the decedent spouse’s will or filing for the elective
share—which is most valuable to the surviving spouse. See
Clarkson, supra. Following this approach usually means that
the method which has the greater pecuniary value will be the
method that is ordered. See, id.; Spencer v. Williams, 569 A.2d
1194 (D.C. App. 1990). This approach followed by the minor-
ity of jurisdictions is sometimes referred to as the “pecuniary
approach.” See Susan P. Barnabeo, Note, The Incompetent
Spouse’s Election: A Pecuniary Approach, 18 U. Mich. J.L.
Reform 1061, 1070 (1985).
    Contrary to the “pecuniary approach,” the majority of
jurisdictions are of the view that all the surrounding facts
and circumstances should be taken into consideration by the
court in order to determine whether to authorize the filing for
the elective share. See, Clarkson, supra; Kinnett v. Hood, 25
Ill. 2d 600, 185 N.E.2d 888 (1962). Courts that follow the
majority approach believe the minority approach is too nar-
row by focusing only on the pecuniary value. The majority
approach values the flexibility afforded by considering all
the surrounding facts and circumstances, such as the testa-
tor’s intent and the choice the surviving spouse would have
made had he or she been competent. See, Spencer, supra;Barnabeo, supra. In Clarkson, this court adopted the minority
pecuniary approach.
    The dissent in Clarkson found the pecuniary approach to be
“too restrictive.” Clarkson v. First Nat. Bank of Omaha, 193
Neb. 201, 209, 226 N.W.2d 334, 339 (1975) (McCown, J., dis-
senting; Newton and Clinton, JJ., join). The dissent stated that
“[t]he rule adopted by the majority of courts offers a much
broader and sounder basis for making the appropriate elec-
tion on behalf of an incompetent surviving spouse. It likewise
permits an equitable approach on an individual case basis.”
Id. at 210, 226 N.W.2d at 339. The dissent also noted that
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                   295 Nebraska R eports
        IN RE GUARDIANSHIP &amp; CONSERVATORSHIP OF KAISER
                       Cite as 295 Neb. 532
§ 30-108 was to be replaced by a new statute, Neb. Rev. Stat.
§ 30-2315 (Cum. Supp. 1974), but the new statute was not yet
in effect. The version of § 30-2315 to which the dissent made
reference had been adopted as a part of the Nebraska Probate
Code by 1974 Neb. Laws, L.B. 354; however, the 1974 ver-
sion of § 30-2315 differs from the version of § 30-2315 that
is currently in place. The 1974 version of § 30-2315 was
patterned after a section of the Uniform Probate Code, then
identified as § 2-203, and provided:
         The right of election of the surviving spouse may be
      exercised only during his lifetime by him. In the case of
      a protected person, the right of election may be exercised
      only by order of the court in which protective proceedings
      as to his property are pending, after finding that exercise
      is in the best interests of the protected person during his
      probable life expectancy.
   After Clarkson was decided in 1975, the Legislature, by
1980 Neb. Laws, L.B. 694, amended the 1974 version of
§ 30-2315 that had been adopted as part of the Nebraska
Probate Code. The 1980 version of § 30-2315 is the same as
the version currently in place, and it provides that in the case
of a protected person, a court may order that the right of elec-
tion may be exercised
      after finding that exercise thereof in the fraction desig-
      nated or proposed is in the best interests of the protected
      person during his or her probable life expectancy and of
      the children, family members, or other successors to the
      decedent or to the protected person, due regard being
      given by the court to the other assets and resources of
      the protected person, the extent and nature of any depen-
      dent, mutual, or otherwise related estate planning of the
      decedent and the protected person, the present and likely
      future financial impact upon the estate of the decedent,
      the protected person or the estate of the protected per-
      son, or such successors of any federal or state estate,
      excise, gift, income, inheritance, succession, or other
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        IN RE GUARDIANSHIP &amp; CONSERVATORSHIP OF KAISER
                       Cite as 295 Neb. 532
      tax consequent upon such exercise, and the existence or
      nonexistence of any other factors deemed by the court
      to be relevant to the exercise or nonexercise of the right
      of election.
   [4] In enacting an amendatory statute, the Legislature is
presumed to have known the preexisting law. Trumble v. Sarpy
County Board, 283 Neb. 486, 810 N.W.2d 732 (2012). By
specifically amending § 30-2315 to include numerous fac-
tors that are to be considered by the court before ordering
that a protected person may exercise the right of election,
the Legislature obviously responded to this court’s decision
in Clarkson v. First Nat. Bank of Omaha, 193 Neb. 201, 226
N.W.2d 334 (1975), and rejected this court’s adoption of
the minority pecuniary approach. By the plain language of
§ 30-2315, the Legislature delineated a number of factors that
are to be considered by the court. The Legislature thus has
indicated its intention that this court use the majority approach
and consider numerous facts and circumstances relevant to
determine whether to authorize a protected person to file for
the elective share. Our reading of the amendment to § 30-2315
is confirmed by the legislative history, wherein an attorney
testifying in support of L.B. 694 stated that the purpose of
the amendment to § 30-2315 was “to overcome the Supreme
Court decision in [Clarkson].” Judiciary Committee Hearing,
L.B. 694, 86th Leg., 1st Sess. 18 (Jan. 30, 1980).
   We have not squarely addressed the issue of what fac-
tors are to be considered by a court in determining whether
to authorize a protected person to file for the elective share,
because this issue was decided in Clarkson under a differ-
ent statute. The Legislature’s 1980 amendment to § 30-2315
lists numerous considerations to be evaluated when deciding
whether to authorize the filing for an elective share, and those
considerations reflect the majority view. Those factors include
other assets and resources of the protected person, related
estate planning of the decedent, and tax consequences of the
exercise or nonexercise of the right of election. See § 30-2315.
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        IN RE GUARDIANSHIP &amp; CONSERVATORSHIP OF KAISER
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Thus, to the extent Clarkson adopted the minority “pecuniary
approach,” that holding has been superseded by statute, specifi-
cally § 30-2315.
   [5,6] Statutory language is to be given its plain and ordinary
meaning, and an appellate court will not resort to interpretation
to ascertain the meaning of statutory words which are plain,
direct, and unambiguous. Stewart v. Nebraska Dept. of Rev.,
294 Neb. 1010, 885 N.W.2d 723 (2016). It is not within the
province of the courts to read a meaning into a statute that is
not there or to read anything direct and plain out of a statute.
Id. Based on the plain language of § 30-2315, we adopt the
majority approach that the surrounding facts and circumstances
should be taken into consideration by the court in order to
determine whether to authorize the filing for the elective share
in the case of a protected person.
   Having determined that the majority approach applies,
we turn to the facts of this case. Heartland argues that the
county court failed to properly consider the factors set forth
in § 30-2315. Heartland asserts that Loyola’s assets and other
resources do not provide her with the necessary income for
the remainder of her life; Albert and Loyola had mutual
estate planning in 2005, but Albert later modified his estate
planning to exclude Loyola; and allowing Loyola to file
for the elective share would not have a financial impact on
Albert’s estate.
   After reviewing the record and the county court’s order,
we disagree with Heartland’s assertions. The record indicates
that the value of Loyola’s assets at the time of the hearing
exceeded $1 million, and that her only liabilities were her
current expenses. The evidence shows that Loyola’s antici-
pated annual income totaled $90,597.77 and that her estimated
annual expenses totaled $82,509.63. This evidence regarding
Loyola’s assets and income was considered by the county
court in making its determination. The county court also rec-
ognized that Albert modified his estate in 2014, at which time
he executed a new will which distributed all of his property
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        IN RE GUARDIANSHIP &amp; CONSERVATORSHIP OF KAISER
                       Cite as 295 Neb. 532
into a living trust, from which he excluded Loyola as a benefi-
ciary. The county court stated when Albert excluded Loyola as
a beneficiary of his living trust, Albert presumably took into
consideration Loyola’s ongoing one-half interest in certain
assets and income-generating resources that were accessible
to Loyola.
   In considering the evidence presented and the factors set
forth in § 30-2315, the county court stated in its order:
      [I]t seems contrary to the estate planning done by the
      decedent (Albert) in 2014, as well as unnecessary when
      considering the current, plentiful financial circumstances
      of the protected person (Loyola . . . ), to approve the
      request of the conservator for authorization to file an
      elective share, of any percentage, within [Albert’s]
      estate . . . .
The county court further stated that if Loyola’s “current finan­
cial circumstances were not as stable and plentiful, then this
Court would have little, if any, regard for the inferred primary
intent of Albert’s 2014 estate planning.” However, the county
court went on to state that
      as set forth in . . . § 30-2315, “due regard being given
      by the court to the other assets and resources of the pro-
      tected person, the extent and nature of any dependent,
      mutual, or otherwise related estate planning of the dece-
      dent and the protected person,” it is the application of
      this statutory provision which leads this Court to deny the
      request of the conservator to file for an elective share of
      [Albert’s] estate.
(Emphasis in original.)
   Based upon our review of the record, we cannot say that
the county court’s decision to deny Heartland’s request to
file for an elective share on behalf of Loyola was contrary to
the law, specifically § 30-2315. The county court’s decision
is supported by the evidence set forth in the record regard-
ing Loyola’s assets and income and the estate planning com-
pleted by Albert in 2014, and we cannot say that the county
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          Nebraska Supreme Court A dvance Sheets
                  295 Nebraska R eports
       IN RE GUARDIANSHIP &amp; CONSERVATORSHIP OF KAISER
                      Cite as 295 Neb. 532
court’s decision was arbitrary, capricious, or unreasonable.
Accordingly, we reject Heartland’s assignment of error, and
we affirm the order of the county court.
                        CONCLUSION
   The county court did not err when it denied Heartland’s
request for authorization to file, on Loyola’s behalf, for the
elective share of Albert’s estate, and we therefore affirm the
order of the county court.
                                                   A ffirmed.
